(1 of 1), Page 1 of 1                       Case: 23-7597, 05/14/2025, DktEntry: 44.1, Page 1 of 1

                                            UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                            Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                               MOTION INFORMATION STATEMENT

       Docket Number(s): 23-7597-cv                                                                      Caption [use short title]

       Motion for: 30-day extension of time to file petition for                    Detrina Solomon v. Flipps Media, Inc.
       panel rehearing or rehearing en banc.



       Set forth below precise, complete statement of relief sought:
       Plaintiff seeks an extension of 30 days, to and
       including June 14, 2025, to file a petition for panel
       rehearing or rehearing en banc of this appeal, which
       a panel of this Court decided on May 1, 2025.




       MOVING PARTY: Detrina Solomon                                          OPPOSING PARTY: Flipps Media, Inc.

                     Plaintiff                     Defendant

                     Appellant/Petitioner       Appellee/Respondent

       MOVING ATTORNEY: Bret D. Hembd                              OPPOSING ATTORNEY: David N. Cinotti
                                 [name of attorney, with firm, address, phone number and e-mail]
       Herrera Kennedy LLP                                                      Pashman Stein Walder Hayden, P.C.
       3500 W. Olive Ave., Ste. 300, Burbank, CA 91505                         21 Main Street, Suite 200, Hackensack, New Jersey 07601
       (213) 394-3100; bhembd@herrerakennedy.com                               (201) 488-8200; dcinotti@pashmanstein.com

       Court- Judge/ Agency appealed from: U.S. District Court for the Eastern District of New York (Azrack, J.)

       Please check appropriate boxes:                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                  INJUCTIONS PENDING APPEAL:
        Has movant notified opposing counsel (required by Local Rule 27.1):        Has this request for relief been made below?          Yes No
                    Yes       No (explain):                                        Has this relief been previously sought in this court? Yes No

                                                                                   Requested return date and explanation of emergency:

       Opposing counsel’s position on motion:
                   Unopposed        Opposed      Don’t Know
       Does opposing counsel intend to file a response:
                    Yes      ✔
                             _No       Don’t Know



       Is the oral argument on motion requested?               Yes     No (requests for oral argument will not necessarily be granted)


       Has the appeal argument date been set?                  Yes     No If yes, enter date: May 13, 2024


       Signature of Moving Attorney:
                                                     Date: May 14, 2025             Service :    Electronic        Other [Attach proof of service]

       Form T-1080 (rev. 10-23)
